Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 1 of 70 PagelD #: 52

Exhibit A
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 2 of 70 PagelD #: 53

Supreme Court

No, 2021-98-A.

In re Altamir V.

ORDER
This appeal is denied and dismissed as it seeks review of an interlocutory order and,
therefore, is not properly before this Court.
All motions pending before the Court are denied as moot.
This matter shall be closed.
Entered as an Order of this Court this 4" day of June 2021.

By Order,

/s/
Clerk
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 3 of 70 PagelD #: 54

Exhibit B
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 4 of 70 PagelD #: 55

F RHODE ISLAND FAMILY COURT

ENCE, PLANTATION

SC

THE DEPARTMENT OF CHILDREN’S

YOUTH and FAMILIES
VS. RE: PJ20-002943

CARLINE VILBON

DEFENDANT’S MOTION TO STAY PENDING APPEAL

Pursuant to Rule 8 of Rhode Island Civil Procedure, (R.L Civ. P. Rule 8) I, the Defendant,
Carline Vilbon respectfully move the Court for an order staying the ruling, entered on December
18,2010, (Dkt. entry), as well as all proceedings concerning the Certification Hearing of
Bradley Hospital, while this case is on appeal. I also respectfully ask this Court to expedite
briefing on this motion and to rule on the motion as soon as practicable, but in any event no later
than December 22, 2020.

 

On December 18, 2020, this Court denied my request for extension to answer the Plaintiff
Bradley Hospital, who did not properly commence an action and Service of Process pursuant to
Rule 3 and Rule 5 of this Civil Procedure. Bradley Hospital filed It’s complain on December 17,
2020, Bradley Hospital was heard on a different subject matter which I the Defendant was not
served, and this Court scheduled Bradley’s hearing with a Court magistrate on December 22,
2020, two business days after the hearing.

Although the Court granted my request to represent myself as a Self-represented litigant, I had
not yet entered my appearance, nor have access to Bradley Hospital’s complaint, and therefore
was unable to review it and answer timely

But I, the Defendants am likely to prevail on appeal, and base on the laws, Rule 3, Rule 5
and forth, that govern the requirements to commence an action and Service of Process for this
procedure, which the Plaintiff did not provide.

It would cause major devastation and harm to my son me, as the Defendants if this matter gets
unresolved, for the following reasons:

Page 1 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 5 of 70 PagelD #: 56

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uo

Plaintiff seeks to certify my son Altamir A. Vilbon who was admitted at Bradley
Hospital without my consent nor my son’s. And Altamir was admitted and transferred.
to Bradley hospital against his will and my wish, and was held at the facility longer
than legally and medically necessary (See email communications with Guardian Ad
Litem dated 11/24/20, in Exhibit A).

During Altamir’s current hospitalization at Bradley Hospital, he reported that he was
being falsely accused of aggression, and was frivolously restrained physically and
chemically. (See email communications with Guardian Ad Litem dated 12/09/20, in
Exhibit B).

Hasbro Children’s Hospital, a Bradley Hospital’s affiliate and their staff worked with
the plaintiff to my son’s detriment, and to wrongfully commit him. (See email
communications with Guardian Ad Litem dated 11/19/20, in Exhibit C).

The Rumford House, a Bradley Hospital facility refused to allow any of Altamir’s
healthcare providers to treat him. (See email communications with Guardian Ad
Litem dated 11/19/20, in Exhibit C and Text communications with Lynn the Charge
nurse at Rumford House in EXHIBIT D).

Altamir reported being abused at Bradley Hospital and being distorted by corrupt
teachings (See email communications with Guardian Ad Litem dated 13/11/20, and
12/15/20 in Exhibit E).

Most recently, on December 20, 2020, Altamir told me that a male staff member
touched him inappropriately, and was restrained. On that day, I promptly reported
suspicions on sexual abuse to Courtney, the Bradley Hospital supervisor. But
Courtney who was avoiding my report initially, later reported that the alleged abuser
was removed from caring for my son, but allowed to care for other children in the
hospital.

Plaintiff's affiliate has falsely committed Altamir since September 17, 2020, and have
been constructively working to institutionalize him without treating him, and have
brought false complaints to and abuse of process to avoid liability for traumatizing .
him (See Carline Vilbon’s Timeline of Incidents in Support of Her Defense in Docket
Entry:-- as EXHIBIT F).

Additionally, Bradley Hospital planned to transfer Altamir back to their Residential
program (See email communications with Guardian Ad Litem dated 12/16/20, in

Exhibit G).

It is in the public’s interest to fully investigate the accuracy and authenticity of the evidence
obtained in the Plaintiff's complaint and answer properly, and to insure fairness and justice.

The process of this Stay motion will not cause harm to any parties involved in this case.

Page 2 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 6 of 70 PagelD #: 57

WHEREFORE: I Carline Vilbon the Defendant respectfully requests this Court to grant an
order to stay pending appeal of Bradley Hospital’s certification hearing for good cause.

Respectfully submitted;

Laukive Bln

Carline Vilbon

74 Prince Street
Pawtucket, RI. 02860

Email: vilbonc(@yahoo.com
Phone: (401) 654-3470

Dated: December 21, 2020.

Page 3 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 7 of 70 PagelD #: 58

Exhibit C
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 8 of 70 PagelD #: 59

 

Rhode Island Hospital
Hasbro Children’s Hospital

Lifespan. Delivering health with care.
Patient and Guest Services

593 Eddy Street
Pravidertce, RE 02903

July 1, 2020

Tel 401 444-5817
Fax 401 444-3009

Carline Vilbon
74 Prince Street
Pawtucket, RI 02860

Dear Ms. Vilbon,

Thank you for reaching out to us at Patient and Guest Services and allowing us the opportunity
to respond regarding you and your son’s experience at Hasbro Children’s Hospital. In providing
services, we value partnering with our patients and their families and we take each situation
seriously.

You can rest assured that the information you shared with us has been formally documented
and the staff involved in your son’s care aware of the concerns you presented throughout this ©
admission. We are dedicated in providing high-quality care and promoting the interests and
well-being of our patients and we do apologize if at any point in time you felt we fell short of
meeting this goal for you. This stay did not meet your expectations and for that you have our
sincere apology.

Our main goal is providing optimal, consistent care to our patients and their families. We do so?
appreciate you sharing your feedback with us as it allows us the opportunity to review areas in
which we can improve.

We thank you for your patience throughout this hospitalization. On behalf of John B. Murphy
MD, Interim President of Rhode Island Hospital and Hasbro Children’s Hospital, please accept
our apology for a negative experience during your family’s time with us.

Sincerely,

fL—

Nicholas Cianci

Patient and Guest Services
Clinical & Service Excellence
401-444-5817
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 9 of 70 PagelD #: 60

Exhibit D
Q6/21_ Page 10 of 70 PagelD #: 61

Caistl:21-cv-00267-MSM-LDA Rasa wibe totic anbtlG,2 SSMENT BY YOUR STAFF

COMPLAINT OF HARASSMENT BY YOUR STAFF

From: Carline Vilbon (vilbonc@yahoo.com)
To: Pgs@lifespan.org
Date: Wednesday, July 15, 2020, 05:59 AM PDT

Attention Patient Guess Services:

lam writing to re Report in most recent harassment by your staff at ihe PACE CLINIC. Yesierday | was
contacted by Maggie a scheduler for the PACE CLINIC she scheduled a phone interview last week for my son
with another Doctor Who is not my son psychiatrist and then the doctor became very inirusive asking questions
and undermining my sons care. Again yesterday Maggie !eft me a message stating that she wanted me to she
wanted to schedule an appointment with the other Doctor Who.is not my son regular psychiatrist. Also today
this morning Maggie told me that she scheduled me for an appointment with my son with the Same doctor on
Thursday without my consent knowledge or approval. And | told Maggie that this was inappropriate and if | weni
io miss that appointment it would've been a missed appointment. Is this harassment behavior continues from
your Staff ! gather that the formal complainis that you claimed to have obtained have not been effective or that
you have not taken any actions from my previous Complainis.

| have notified your office that | was in a process of finding a new psychiatrist for my son and he will not be
returning to HASBRO. | request that That you inform your Staff to not interfere any further in my sons care as
they have caused enough disruption in our lives thank you

Mail for iPhone

Sent from Yahoo

         

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 11 of 70 PagelD #: 62

Exhibit E
1013685 © eee eee Oe eye ELAINt ct AGASoNea BY So era 170 PagelD #. 63

Fw: COMPLAINT OF HARASSMENT BY YOUR STAFF

from: Carline Vilbon (vilbonc@yahoo.com)
fo.  john.barletta@dcyfri.gov
Date: Monday, September 14, 2020, 05:26 AM PDT

Good morning Mr. Barietia:

This is a forwarding email complaint that | sent to The Hasbro Patient Guest Services, regarding the
mistreatment that my son and | received by their staff. I will be sending the others as well.

Thanks.

Carline Vilbon, mother of Altamir A. Vilbon

-—-- Forwarded Message -----

From: Carline Vilbon <vilbonc@yahoo.com>

To: PGS PGS <pgs@lifespan.arg>

Sent: Wednesday, July 15, 2020, 05:59:36 AM PDT
Subject: COMPLAINT OF HARASSMENT BY YOUR STAFF

Attention Patient Guess Services:

| am writing to re Report in most recent harassrnent by your staff at the PACE CLINIC. Yesterday i was
contacted by Maggie a scheduler for the PACE CLINIC she scheduled a phone interview last week for my
son with another Doctor Who is not my son psychiatrist and then the doctor became very intrusive asking
questions and undermining my sons care. Again yesterday Maggie left me a message stating that she
wanted me to she wanted to schedule an appointment with the other Doctor Who is not my son regular
psychiatrist. Also today this morning Maggie-told me that she scheduled me for an appointment with my son
with the same doctor on Thursday without my consent knowledge or approval. And | told Maggie that this

was inappropriate and if | went to miss that appointment it would've been a missed appointment. Is this
harassment behavior continues from your staff | gather that the formal complaints that you claimed to have
obtained have not been effective or thai you have not taken any actions from my previous Complaints.

| have notified your office that | was in a process of finding a new psychiatrist for my son and he will not be
returning to HASBRO. | request that That you inform your staff to not interfere any further in my sons care as
they have caused enough disruption in our lives thank you

Sent from Yahoo Mail for iPnone

Ww
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 13 of 70 PagelD #: 64
10/4/2020 Yahoo Mail - Fw: ALTAMIR VILBON DISCHARGE SUMMARY

Fw: ALTAMIR VILBON DISCHARGE SUMMARY

From: Carline Vilbon (vilbonc@yahoo.com)
To:  john.barletta@dcyf.ri.gov
Date: Monday, September 14, 2020, 05:26 AM PDT

noone Forwarded Message -----

From: Carline Vilbon <vilbonc@yahoo.com>

To: pgs@lifespan.org <pgs@lifespan.org>

Sent: Tuesday, June 30, 2020, 07:54:31 AM PDT
Subject: Re: ALTAMIR VILBON DISCHARGE SUMMARY

Good morning

This is an addendum to my complaint and some recent developments and information that I’ve discovered,
about your psychiatric team harassment of me and my son.
First of all, | left a crucial information that last Friday during a phone conference with Dr. Patel she was

- interrogating me asking me why my son was hospitalized in Boston as if she’s following me around trying to
get me into some kind of legal problems, then most recently Dr. Matar called DCYF stating that | was not
going to follow up with my son without even asking me first, as | stated in my previous email .

And today DCYF informed me that Dr. Patel reported that the program that | was going to take my son to is
not adequate but HASBRO'’s is adequate . Therefore, my sen should be bounced back to Hasbro specifically
they're partial program . This is why | left the entire facility and withdrew and transferring my son from the
care of all professionals from your hospital and we are not going to be forced to participate in any of your
programs.

| would like to emphasize, that ! do not want any further contact with any of the staff from HASBRO. Please
make a note of this. And if any of therm contact me, ! will consider and treat it like harassment.

Should any of your staff or your facility initiate any legal proceeding against me | am more than ready and
have the resources and representation to proceed.

Again | want nothing to do with HASBRO and I'm capable of taking care of my son . Your staff have done
enough damage and if this continues you'll be left with no other patients in your facility . Many other parents
and patients also feel the same way as you have plenty of negative reviews.

Sincerely,

Carline Vilbon, In protest.

seni from Yahoo Mail for iPnene

On Saiurday, June 27, 2020, 3:39 AM, Carline Vilbon <vilbonc@yanoo.com> wroie:

Good morning;

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 14 of 70 PagelD #: 65
10/1/2020 Yahoo Mail - Fw: ALTAMIR VILBON DISCHARGE SUMMARY

Attention patient in guest services «

| am contacting this office because | have numerous concerns about a physician Dr. Patel who spoke to
me this afternoon, she’s one of the doctors that are taking care of my son in the Behavioral Unit.

After speaking with her | feel very concerned and threateried because she threatened to have my son
institutionalized rather than allowing him to participate in a partial program. She feels as though the
staff from the partial program at Hasbro are not getting along with me, and therefore, my son should
bypass that stage and go straight to being institutionalized.

After that conversation | have been unsetiled and requested that my son be discharged. I’ve spoken to a
supervisor who told me that there will be a doctor, covering psychiairist at the hospital tomorrow and |
would like for that psychiatrist to evaluate my son and discharge him at once tomorrow.

Since my son was not in voluntarily admitted to HASBRO Children Hospital Behavioral Unit and he does
not pose 4 harm to himself and others, according to the law that supports my wish, | want my son fo be
discharged tomorrow to prevent any further conflicts, complications and or the worst possible outcome
and negative experiences in addition to what I’ve already experience.

Thank you, and | would appreciate your prompt response regarding this maiter.

If you have any further questions, do not hesitate to contact me.

Sincerely,

Carline Vilbon

(401) 654-3470

sent irom Yahoo Mail for iPnone

 

On Friday, June 26, 2020, 1:16 PM, Carline Vilbon <vilbonc@yahoo.com> wroie:

Good afternoon:

Niy name is Carline Vilbon. | am the Mother of Altamir A. Vilbon.

Please submit a copy of the attached Discharge Summary to my son's nurse.

Her name is Leticia, and she is on the Behavioral Unit, 6th floor, at Hasbro Children Hospital.
! will follow-up with your department with a phone call.

Sincerely,

Carline Vilbon

(401) 654-3470

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ase 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 15 of 70 PagelD #: 66
10/1/2020 Yahoo Mail - Fw: COMPLAINT ABOUT PSYCHIATRIC STAFF AT HASBRO

Fw: COMPLAINT ABOUT PSYCHIATRIC STAFF AT HASBRO

From: Carline Vilbon (vilbonc@yahoo.com)
To. — john.barletta@dcyf.ri.gov
Date: Monday, September 14, 2020, 05:27 AM PDT

aan Forwarded Message -----

From: PGS PGS <pgs@lifespan.org>

To: Carline Vilbon <vilbonc@yahoo.com>; PGS PGS <PGS@Lifespan.org>
Sent: Monday, June 29, 2020, 05:54:49 AM PDT

Subject: RE: COMPLAINT ABOUT PSYCHIATRIC STAFF AT HASBRO

Good morning Cariine,

Thank you for bringing this to our attention, we will document this concern as a formal complaint and share
with the appropriate leadership.

From: Carline Vilbon <vilbonc@yahoo.com>

Sent: Sunday, June 28, 2020 8:29 PM

To: PGS PGS <PGS@Lifespan.org>

Subject: Re: COMPLAINT ABOUT PSYCHIATRIC STAFF AT HASBRO

WARNING: This email originated outside of Lifespan and our authorized business partners. | USE
CAUTION when clicking on links or attachments.

Good evening patient guest services at HASBRO Children Hospital :

This has got to be the worst hospital experience that I’ve ever had and it’s been a horrific experience over the
weekend. | spoke to a doctor named Dr. Matar a covering psychiatrist, who was already given report about
my concern regarding Dr. Patel’s threat to institutionalize my son.

| talked to her on Saturday and was hoping that you would discharge my son over the weekend, although
she did contact someone from the legal department or risk management who told her that she could not
discharge my son at the time | requested, but she reported that she could not discharge my son due to a
DCYF complaint.

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 16 of 70 PagelD #: 67
10/1/2020 Yahoo Mail - Fw: COMPLAINT ABOUT PSYCHIATRIC STAFF AT HASBRO

Now I'm left with a finding that my son may be held against my will, and there was no complaint reported tc
me by HASBRO staff, which she said it was pending there was no complaint about me to DCYF. immediately
after speaking to her, | called DCYF hot line, who notified me that they had just received a complaint right
right before | called. therefore the complaint that she made was in bad faith and this is a bad faith reporting
since there was no finding or any allegations about me until | made the request to have my son discharged.
Therefore, | am also reporting bad faith reporting on the on the part of your psychiatric staff at House with
Children Hospital and that they are racist and this is just a nightmare experience because you cannot treat a

~ family and a child like that as if they have no value as a human being, and does not deserve to be treated
even with medical ethics.

Therefore | will no longer be receiving care in your hospital and the healthcare advocates as well as
disability legal team will be in contact with you about this matter. This is a very serious matter, it not only
harmful to me and my son, but other families that are potentially at risk of harm by the staff of your facility.
This situation deserves prompt and serious attention as | will obtain legal and professional help, because my
sons rights as a patient has been grossly violated .

thank you for your attention

Carline Vilbon

(401) 654-3470

Sent from Yahoo Mail for iP nous

 

On Saturday, June 27, 2020, 3:39 AM, Carline Vilbon <vilbonc@yahoo.com> wrote:

Good morning;

Attention patient in guest services :

| am contacting this office because | have numerous concerns about a physician Dr. Patel who spoke to
me this afternoon, she’s one of the doctors that are taking care of my son in the Behavioral Unit.
After speaking with her | feel very concerned and threatened because she threatened to have my son
institutionalized rather than allowing him to participate in a partial program. She feels as though the

staff from the partial program at Hasbro are not getting along with me, and therefore, my son should
bypass that stage and go straight to being institutionalized.

After that conversation | have been unsettled and requested that my son be discharged. I've spoken to a
supervisor who told me that there will be a doctor, covering psychiatrist at the hospital tomorrow and |
would like for that psychiatrist to evaluate my son and discharge him at once tomorrow.

Since my son was not in voluntarily admitted to HASBRO Children Hospital Behavioral Unit and he does
not pose a harm to himself and others, according to the law that supports my wish, | want my son to be

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 17 of 70 PagelD #: 68

(574 unread) - vilbonc@yahoa.cam - Yahoo Maii

40/1/2020

inbox

Unread

Starred

Drafts 18
Sent

Archive

Spam

Trash

” Less

Views Show

Folders Hriz
+ New Folder
Drafts
Notes

Outbox

https://mail.yahoo.com/d/search/name=john.barletta%2540dcyt.ri.gov&emailAddresses=john.barletta%2540dcyfri.gov&listFilter=ALL&conta...

 

Find messages, documents, photos or people

& Back <4 Gy ee Bg Archive Be Move Delete

Fw: ALTAMIR VILBON DISCHARGE Vahao/Sent
SUMMARY
Carline Vilbon <vilbon¢ 2 9. Mon, Sep 14 at 5:32 AM
Tor

john. barletta@dcyfri.go

I HAVE ALSO ATTACHED HASBRO'S LETTER
GF APOLOGY TO THIS EMAIL

—-- Forwarded Message ——

From: Carline Vilbon <vilbonc@yahoo.com>

To: pgs@lifespan.org <pgs@lifespan.org>

Sent: Friday, June 26, 2020, 10:16:46 AM PDT
Subject: ALTAMIR VILBON DISCHARGE SUMMARY

Good afternoon:

My name is Carline Vibon. I ar the Mother
of Altamir A. Vilbeon.

Please submit a copy of the attached
Discharge Summary to my son's nurse.

Her name is Leticia, and she is on the
Behavioral Unit, 6th floor, at Hasbro
Children Hospital.

i will follow-up with your department with
a phone cail.

@ Spam

 

 

 

 

 

 

 

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 18 of 70 PagelD #: 69
10/1/2020 Yahoo Mail - UNABLE TO REACH YOU FOR AN URGENT MESSAGE

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UNABLE TO REACH YOU FOR AN URGENT MESSAGE

From: Carline Vilbon (vilbonc@yahoo.com)
To:  john.barletta@dcyf.ri.gov
Date: Tuesday, September 15, 2020, 10:02 AM PDT

Dear Mrs. Barletta:

tam planning to meet you today at 2 PMat HASBRO Children Hospital for a meeting with the doctors regarding
my son ALTAMIR Alexander Vilbon.

My brother who was supposed to accompany me had an inconvenience, and is unable to attend this meeting. |
texted you and requested that you notify the hospital that | would like my brother to attend the meeting via audio
or video on my behalf in my sons behalf.

But have not responded to my text.

| just want to inform you, that in the absence of my brother, | will not attend this meeting. Because | need his
support I, and to witness the meeting.

If there is a problem, when | arrive, | will request for another date for the meeting.

Sincerely,

Cartine Vilbon.

Sent from Yahoo Mail for iPhone

On Monday, September 14, 2020, 8:32 AM, Carline Vilbon <vilbonc@yahoo.com> wrote:

| HAVE ALSO ATTACHED HASBRO'S LETTER OF APOLOGY TO THIS EMAIL

----- Forwarded Message -----

From: Carline Vilbon <vilbonc@yahoo.com>

To: pgs@lifespan.org <pgs@lifespan.org>

Sent: Friday, June 26, 2020, 10:16:46 AM PDT

Subject: ALTAMIR VILBON DISCHARGE SUMMARY

Good afternoon:

Niy name is Carline Vilbon. | am the Mother of Altamir A. Vilbon.

Please submit a copy of the attached Discharge Summary to my son's nurse.

Her name is Leticia, and she is on the Behavioral Unit, 6th floor, at Hasbro Chiidren Hospital.

| will follow-up with your department with a phone cai.

Sincerely,

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Yahoo Mail - DCYF Texts

21-cv-00267-MSM-LDA Document 4-1 F

Case 1

10/1/2020

led 07/06/21 Page 19 of 70 PagelD #

 

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John DCYF Worker

 

 

 

Yr welcome

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 20 of 70 PagelD #: 71
10/1/2020 . Yahoo Mail - DCYF Texts

DCYF Texts

From: Carline Vilbon (vilbonc@yahoo.com)
fo: — vilbonc@yahoo.com

Date: Thursday, October 1, 2020, 11:03 AM PDT

Service >

  
 
 
 
 
  

     

dahn OCYF Worker :

 

  

Meeting this Tuesday on yr
sons unit. 2 pm. With all the
doctors. Cantu make it.
Please respond. Thanks. Jon
Deyf.

4/3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 21 of 70 PagelD #: 72

Exhibit F
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 22 of 70 PagelD #: 73
1/4/2024 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

From: Carline Vilbon (vilbonc@yahoo.com)
To: graceaime7@gmail.com

Date: Tuesday, October 13, 2020, 07:21 AM PDT

Sent from Yahoo Mail for iPhone

Begin forwarded message:

On Tuesday, October 13, 2020, 10:08 AM, Carline Vilbon <vilbonc@yahoo.com> wrote:

Excuse my error from previous message;

The conversation between Chris from BCH,
and Dr. Patel occurred last week.

And | requested that Dr. Patel and other HASBRO doctors to speaks to my attorney and not me directly.
Carline Vilbon
Sent from Yahoo Mail for iPhone

On Tuesday, October 13, 2020, 9:57 AM, Carline Vilbon <vilbonc@yahoo.com> wroie:

Excuse me Tia;

This is not what Chris and | discussed. Furthermore, Chris is not ina position to make that decision as
he is not a medical expert. Additionally, as Altamir's mother, | reserve the right to make medical
decisions that are within sound judgment and for his best interest.

You should also note that his care is being affected by not receiving proper care from his specialist, Dr.
Sansevere, at BCH, who has been most effective in treating his medical condition.

Thanks again,

Carline Vilbon

Sent from Yahoo Mail for iPhone

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ease 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 23 of 70 PagelD #: 74
V Yahoo Mail - Fw: [EXTERNAL]: Regarding our scheduled Zoom call with my son

On Tuesday, October 13, 2020, 9:49 AM, SaeEung, Tia (DCYF)
<Tia.SaeEung@dcyf.ri.gov> wrote:

Hi Carline, Yes | have Spoken with Social worker Chris Ryan at BCH. Myself and Chris
discussed Alex and his needed treatment. Chris reported Alex does not need to go to

BCH, as he can get psychiatric and epilepsy treatment in RI and he does not require the
Specialty of BCH.

If you would like Dr. Patel to speak with Chris or Dr. Sansevere regarding this request,
please let me know and let Hasbro know so they can further explore this matter.

Tia

From: Carline Vilbon <vilbonc@yahoo.com>

Sent: Tuesday, October 13, 2020 9-43 AM

To: SaeEung, Tia (DCYF) <Tia.SaeEung@dcyf.ri.gov>

Subject: Re: [EXTERNAL] - Regarding our scheduled Zoom call with my son

Good morning Tia;
Thanks for setting up this appointment.

Also, I'd like to inform you that Dr. Patel, continues to refuse
my son’s transfer to any other hospitals and this was my fourth
_ attempt. @

Earlier last week I have contacted Boston Children’s Hospital

(BCH), in order to have my son transferred. ‘Yesterday the
social worker Chris Roy, from BCH Epilepsy Department,
called and told me that in order for BCH to accept Alamir’s
transfer, this would have to be initiated by HASBRO per my
request. And then he said that he had spoken to you, the DCYF
social worker, and explained the steps that needed to be taken.
And that you would have to facilitate the out of state transfer
for my son’s care.

Additionally, I called and obtained authorization from
OPTUN’s Utilization Review to pay for my son’s out of state

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 24 of 70 PagelD #: 75
1/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

medical treatment, because he is in need of a hospital that can
can treat him both medically, and psychologically.

And that there are no other children hospital in Rhode Island
other than HASBRO that treats both conditions and that my son
is not receiving good care at Hasbro as his medical condition
worsened.

And in addition to his psychological state, he requires
continuous medical from an epilepsymologist specialist, which
Rhode Island doesn’t have. But he is in the care of Dr.
Sansevere, an epilepsymologist at BCH, who would also
oversee his specialized medical needs, while hospitalized. And
that he has missed his appointments with Dr. Sansevere,
because of his currently at HASBRO, where his care needs are
not bemg met.

And would need to be transferred to BCH, in order for Altamir
to receive proper medical care.

Additionally, I am not requesting this transfer to by-pass, the
legal process that is pending before the Court, but as the sole
and best option te resolve my son’s medical problems at this
time.

While I was talking to Chris the BCH social worker, Dr. Pate!
from HASBRO called me. and told me she received a call from
BCH about Altamir’s transfer, and asked me to give her the
name of the doctor who is going to take Altamir., and would
not transfer him without have that information. Again she is
uncooperative with the transfer, because Chris reiterated as
Butler Hospital and Carney Hospital intake staff told me, that
HASBRO has to initiate the transfer in order to find which
doctor will be assigned to my son. And that it is not my
responsibility.

3/8
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 25 of 70 PagelD #: 76

1/4/2021 Yahoo Mail - Fw: (EXTERNAL] : Regarding our scheduled Zoom call with my son

Dr. Patel told me not to call the unit to check in my son, and
that she would be the one to give me daily updates at 12 pm,
despite my request that she contact my instead, she called me
from an unknown number. But then I asked her to email me
instead.

My son was restrained for ten consecutive days, isolated and
secluded from social interactions, TV, and family.

And needs to be re-evaluated for trauma as well as his any
change in medical condition.

Please help facilitate my son’s transfer to BCH by contacting
Chris at (617) 355-0581 and per DCYF.

Sincerely,

Carline Vilbon.

Sent from Yahoo Mail for iPhone [overview.mail. yahoo.com]

On Tuesday, October 13, 2020, 9:20 AM, SaeEung, Tia (DCYF)
<Tia.SaeEung@dcyf.ri.gov> wrote:

Good morning Carline, | have set up a in person visit for tomorrow Wednesday
October 1th at 10AM at Hasbro. Please bring an ID for check in.

Tia

From: Carline Vilbon <vilbonc@yahoo.com>
Sent: Friday, October 9, 2020 9:50 AM

Subject: Re: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Please ask your covering social worker to call me on my phone and leave me a
voicemail message, in addition to email for the in person visit appointment. Because |
might not receive email from an unknown source.

Thank you

Sent from Yahoo Mail for iPhone foverview.mail.yahoo.com]

Als
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 26 of 70 PagelD #: 77
1/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

On Thursday, October 8, 2020, 1:43 PM, SaeEung, Tia (DCYF)
<Tia. SaeEung@deyf.ri.gov> wroie:

| will call the hospital to set something up, | will need to find another worker to cover
this visit as | am off tomorrow and the weekend. | will keep you informed of the visit
time and date.

From: Carline Vilbon <vilbonc@yahoo.com>

Sent: Thursday, October 8, 2020 1:17 PM

To; SaeEung, Tia (DCYF) <Tia.SaeEung@dcyf.ri.gov>

Subject: Re: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Good afternoon;

| would like to visit my son as soon as this week. But | would appreciate it if my
brother could be on the speaker during the visit.

This was allowed previously at HASBRO meetings.

Thank you

Sent from Yahoo Mail for iPhone [overview.mail.yahoo.com]

On Wednesday, October 7, 2020, 11:23 AM, SaeEung, Tia (DCYF)

Would you like me to schedule the in person visit for this week, or would you like
me to wait until you speak with your attorney?

Tia Sae-Eung

5/8
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 27 of 70 PagelD #: 78

1/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Social Case Worker Ii

Department of Children, Youth, and Families
530 Wood Street

Bristol, Rl 02809

Office: (401)254-7029

Fax: (401)254-7068

From: Carline Vilbon <vilbonc@yahoo.com>
Sent: Wednesday, October 7, 2020 10:12 AM

Subject: Re: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Based on our phone conversation this morning, | am referring you back to my
attorney, because your one hour only supervised visits, without any additional
phone calls is not sufficient to maintain contact with my son, as you have told me
that this is what you are allowing for now.

Carline Vilbon, mother of Aliamir A. Vilbon

Sent from Yahoo Mail for iPhone foverview.mail.vahoo.comi
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 28 of 70 PagelD #: 79
11/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

530 Wood Streei
Bristol, RI 02809

Office: (401)254-7029
Fax: (401)254-7068

From: Carline Vilbon <vilbonc@yahoo.com>
Sent: Thursday, October 1, 2020 10:29 AM

Subject: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Hello Tia:

| just wanted to let you know that | have some concerns about our conversation
a few minutes ago. And that you stated that my son was not able to be
regulated after our last Zoom call. Although | did clarify that | was just informing
him about the stage that I was in, to resolve the problems we're experiencing,
and clarified that | was not inappropriate.

However it was my son who was emotional because he had not spoken with
me and his family in a long time. You still found that he was not able to be
regulated after our last call. And this was not my impression at all. On

the Contrary, Alex was very exited and happy to see me and talk fo me.

And to prevent any further misunderstandings, | requested that our zoom cail
be recorded, prior to our call, but you declined. My reason for this is to keep a
record of those communications so that if needed, that the Court would be able
to determine what was said, and whether appropriate or not.

So, | have decided to cancel our Zoom call scheduled for 12:30 PM tomorrow,
and address this issue in court on Monday, with my attorney present.

Thanks again,
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 29 of 70 PagelD #: 80
1/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Carline Vilbon, mother of Altamir A. Vilbon.

Sent from Yahoo Mail for iPhone [overview.mail.yahoo.com]

8/6
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 30 of 70 PagelD #: 81

1/4/2021 Yahoo Mail - Fw: [EXTERNAL] : Regarding our scheduled Zoom call with my son

Carline Vilbon, mother of Altamir A. Vilbon.

Sent from Yahoo Mail for iPhone [overview.mail.yahoo.com}
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 31 of 70 PagelD #: 82

Exhibit G
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 32 of 70 PagelD #: 83
1/4/2021 Yahoo Mail - Re: [EXTERNAL] : Visitation and Cali Schedule

Re: [EXTERNAL] : Visitation and Call Schedule

From: Carline Vilbon (vilbonc@yahoo.com)
jo: tia saeeung@dcyi.ti.gov
Date: Monday, October 19, 2020, 08:59 AM PDT

Jus so you know, you did not have my permission to do that. Therefore you are assisting
those who have abused my son

_ On Monday, October 19, 2020, 08:01:48 AM PDT, SaeEung, Tia (DCYF) <tia.saeeung@dcyt.ri.gov> wrote:

. Visit is scheduled for tomorrow at 10AM at Hasbro.

‘ Following Alex's interview, he has been accepted to the Rumford house for placement. | have attached the
link below so you can have some information on the placement. We are looking to schedule an admission
date for Alex this week.

: https://www.lifespan.org/centers-services/center-autism-and-developmental-disabilities-cadd/residential-
services

Tia Sae-Eung
Social Case Worker II
: Department of Children, Youth, and Families
530 Wood Street
Bristol, R! 02809
Office: (401)254-7029

Fax: (401)254-7068
 

Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 33 of 70 PagelD #: 84

Exhibit H
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 34 of 70 PagelD #: 85

Notification of Child Protective Services Investigation Findings

_Carline Vilbon ~ Date: 09/29/2020- - -
74 Prince St Case # 20171037
Pawtucket, RI 02860 , Investigation #: 490702
Dear Carline Vilbon:

Based upon a recent investigation of you by the Child Protective Services Division of the Department of
Children, Youth and Families, it has been concluded that:

There exists a preponderance of evidence to support the following allegation(s) therefore they are — -
Indicated against you.

 

Allegation _ Allegation Description Victim

Neglect Medical Neglect Altamir A. Vilbon
Neglect Medical Neglect Altamir A. Vilbon
Neglect Medical Neglect Altamir A. Vilbon
Neglect Other Neglect Altamir A. Vilbon
Neglect Medical Neglect Altamir A. Vilbon

 

There does not exist a preponderance of evidence to support the following allegation(s) therefore they are -
Unfounded.

 

Allegation Allegation Description Victim
Physical Abuse Excessive/Inappropniate Discipline Altamir A. Vilbon

i. The Department shall maintain a permanent record of the “indicated finding(s)’ as noted above unless
successfully appealed. —_. wn

2. The Department shall maintain a record of any “‘unfounded* finding for a period of three (3) years.

You have the right to review the Department’s investigative file at the DCYF Office of Legal Counsel
upon reasonable written notice to the Department. Notwithstanding the foregoing. you shall pot be
entitled to view the reporter’s name or any privileged or confidential information that is contained in
the file. You may request in writing directed to the Chief Legal Counsel, that information contained
in said file be corrected or removed for good cause. Sot

kay
'

4. Pursuant to the provisions of RI.G_L. 40-13.2-3.] and DCYF Policy 700.0105 the indicated findings
referenced below could be automatic disqualifying information for purposes of child care
emplovment:

SMO6AF45 (DCYF #183) (Use with policy 500.0085) Version Date: 02/2017... .—----  ---~-
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 35 of 70 PagelD #: 86

STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
DEPARTMENT OF CHILDREN, YOUTH AND FAMILIES

Notification of Child Protective Services Investigation Findings

Death, Brain Damage/Skull Fracture. Subdural Hematoma, Internal Injury. Mailnutrition/Starvation.
Sexually Transmitted Disease, Sexnal Intercourse. Sexual Exploitation. Sexual Molestation, Failure
io Thrive, Burning/Scalding, Poisoning, Wound, Bone Fracture, Human Bite, Sprain/Dislocation

In Limited situations. involving incidents in which there is po serious physical injury to a child, there
can be an administrative determination that, notwithstanding an indication of one of the following
three allegations, the individual may noi be disqualified from employment or licensing:

Excessive/Inappropriate Discipline. Drug/Alcohol Abuse, Cut/Bruise/Welt

5. Copies of the Department's Complaints and Hearing policy may be obtained from the EOHHS

Appeals Office at 462-2132. You have the right to appeal any ‘indicated’ findina(s). If you wish to
_ =. .-+ -~ appeal yourmest do-so-by submitting written novice to the Executive OMice Of Health and Human
Services, Appeals Office, Virks Building, 3 West Road, Cranston, RI 02920, within thirty days of
receipt of notification of any adverse agency decision.

6. Inthe event that the “indicated” findings made in the above referenced investigation are the subject of
a hearing before the Rhode Island Family Court, and if the Court makes a final determination that the
abuse and/or neglect did not occur, the “indicated” findings wil} be reversed to ‘unfounded’. In such
cases, the records relating fo the ‘unfounded’ findings will be expunged three (3) years from the date
of the finding of no abuse and/or neglect in accordance with R..G-L. 40-11-3 and 40-1J-13 Al.

Authorzer Bic

   

Lisa M. D!
Child éctive Investigator Supervisor
01) 528-3479 (403) 528-3466
Telephone Number Telephone Number

 

SMOGAF4S (DCYF #183) (Use with policy 500.0085) Version Date: 02/2017
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 36 of 70 PagelD #: 87

STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
DEPARTMENT OF CHELDREN, YOUTH AND FAMILIES

Notification of Child Protective Services Investigation F. indings

Carline Vilbon Date: 09/18/2020

74 Price Ser Case #: 20171057
Pawtucket, RI 02860 Investigation #: 490702
Dear Carline Vilbon:

Based upon a recent investigation of you by the Child Protective Services Division of the Department of
Children, Youth and Families, it has been concluded that:

There exists a preponderance of evidence to support the following allegation(s) therefore they are
Indicated against vou.

 

Allegation Allegation Description Victim

 

Neglect Medical Neglect Altami A. Vilbon
Neglect Medical Neglect Altamir A. Vilbon
Neglect Medical Neglect Alramir A. Vilbon
Neglect Other Neglect Altamir A. Vilbon

 

There does not exist a preponderance of evidence to support the following allegation(s) therefore they are
Unfounded.

 

Allegation Allegation Description Victim
Physical Abuse _ Excessive/Inappropriate Disciplme _Altamir A_ Vilbon

 

]. The Department shall maintain a permanent record of the ‘indicated finding(s)’ as noted above unless
successfully appealed.

ba
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The Department shall maintain a record of any ‘unfounded’ finding for a period of three (3) years.

You have the right to review the Department’s investigative file at the DCYF Office of Legal Counsel
upon reasonable written notice to the Department. Notwithstanding the foregoing, you shall not be

entitled to view the reporter’s name or any privileged or confidential information that is contained in
the file. You may request in writing directed to the Chief Legal Counsel, that information contamed
in said file be corrected or removed for good cause.

G3

4. Pursuant to the provisions of R.LG.L. 40-13.2-3.1 and DCYF Policy 700.0105 the indicated findings
referenced below could be automatic disqualifying formation for purposes of child care
employment:

 

Death, Brain Damage/Skull Fracture, Subdural Hematoma, Internal Injury, Malnutrition/Starvaiion,
Sexually Transmitted Disease, Sexual Intercourse, Sexual Exploitation, Sexual Molestation, Failure
to Thrive, Buming/Scaldine. Poisoning, Wound, Bone Fracture, Human Bite, Sprain/Dislocation

SMOGAF45 (DCYF #183) (Use with policy 500.0085) Version Date: 02/2017
Case 1:21-cv- -
(1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 37 of 70 PagelD #: 88

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STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
DEPARTMENT OF CHILDREN, YOUTH AND FAMILIES

Notification of Child Protective Services Investigation Findings

In limited situations, involving incidents in which there is no serious physical injury to a child, there
can be an administrative determination that, notwithstanding an indication of one of the following
three allegations. the individual may not be disqualified from employment or Jicensing:

Excessive/Inappropriate Discipline, Drug/Alcohol Abuse, Cut/Bruise/Welt

Copies of the Department's Complaints and Hearing policy may be obtained from the EOHHS
Appeals Office at 462-2132. You have the right to appeal any ‘indicated’ finding{s). lf you wish to
by submitting written notice to the Executive Office of Health and Human

appeal you must do so
Services, Appeals Office, Virks Building, 3 West Road, Cranston, RI 02920, within thirty days of

receipt of notification of any adverse agency decision.

In the event that the ‘indicated’ findings made in the above referenced investigation are the subject of
a hearing before the Rhode Island Family Court, and if the Court makes a final determination that the
abuse and/or neglect did not occur, the ‘indicated’ findings will be reversed to ‘unfounded’. In such
cases, the records relating to the ‘unfounded’ findings will be expunged three (3) years from the date

of the finding of no abuse and/or neglect in accordance with RILG_L. 40-11-3 and 40-11-13 el.

“3

Submitted By: Au Ee

thony C. Marsella

John F. Barletta
Child Protective Investigator Supervisor

Child Protective Iv¢spigator

(401) 528-3467

(401) 528-3479
Telephone Number

Telephone Number

SMO06AF45 (DCYF #183) (Use with policy 500.0085) Version Date: 02/2017
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 38 of 70 PagelD #: 89

 

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Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 39 of 70 PagelD #: 90

Carline Vilbon
74 Prince Street
Pawtucket. RL 02860.
Ph: (401) 654-3470

Dated October 23, 2020

Executive Office of Health and Human Services
Appeals Office
Virks Building,
3 West Road .

Cranston, RI. 02920
NOTICE OF APPEAL OF DCYF MEDICAL NEGLECT DECISION

To whom it may concern:
I wish to appeal the following DCYF decision:
Date 09/29/2020
Case # 20171057 |

Investigation #: 490702
Sent by Certified Mail Return Receipt # 7018-0680-0000-8106-7631

Sincerely,
io

Carline Vilbon,
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 40 of 70 PagelD #: 91

STATE OF RHODE ISLAND
DEPARTMENT OF CHILDREN, YOUTH AND FAMILIES
Formal Request for Hearing

This form must be filed with the Administrative Hearing Officer, Department of Children Youth and
Families, 101 Friendship Street, Providence, RI 02903, within thirty (30) days of receipt of an adverse
agency decision. ,

Please ensure that all applicable information is complete, accurate and legible.

one Coline Vilbon Date of Birth: O6/ 12.119 22.
(All maiden and married names must be included) RT 6 2396
Address: of L Prd Nee. St Pa Cs wh cleo Telephone: f i g | 65 t { ~—s Ly F(
Please check all of the following that apply to the filing of this appeal.
You were indicated for an allegation(s) of child abuse and/or neglect.
You were denied employment. If so, name of prospective employer

You were denied a license by the Department for Children Youth and Families.
You were denied as a placement resource for a child(ren). Hf so, name of child(ren)

 

 

You were denied eligibility for services as a youth age 18 - 21.

Other:

Note: a request for an appeal based on a criminal records check must include a copy of the
disqualifying information.

OO OOO

 

Please briefly state the issue(s) you wish to address at the hearing. (Please use the reverse side ofthis . ©
form if you require additional space.) invicelation of DCYF Des of Breer wy

The DCYF investigation Was Lvtust, biased, Taccoa\ ly SGT
Moh Lated pad Loos bre Clas Ld EAA Hn s0i-fo | : cera } iQ

Name) and Date(s) YONG etc Chikarcety aoa in hie Appeal False tutor Ven er;
Atomic A. ilbon 07 lot lot

’ Name & Address of Mother: Cac Lis Ro VV; he 1__ Fa fromce Sl faudtacktl

 

 

 

 

Name & Address of Fathers“? Koehn Vita A. Anvfere z
Name & Address of Foster Parent(s): _
Name of Child Protective Investigator: _. Vo Ih IQ Se C | et & .

Name of Social Worker: ~ (Ta S22 Euns

Name of other DCYF involved staff:

 

J understand that I may represent myself or be represented by legal counsel. ~
The Department, in accordance with Title V1 of the Civil Rights Act of 1964, and other Federal and State
regulations, does not discriminate on the basis of race, color, national origin, age, sex, gender identity or
expression, sexual orientation, religious belief, political belief or disability in admission or access to
treatment or employment in its programs or activities. The Department’s Equal Opportunity Officer will
attend all hearings where discrimination is an issue beforg the Dearmg Officer.

WD

EoRAN

DCYF #016 (Use with Policy: 100.0055, 700.0105, 700.0240, 900.0040) Version Date: 2/08

Sem by CocdeQed Moil Retsiel No-7613 0630 2008 Blo FEZK

Signature of Complainant: , /
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 41 of 70 PagelD #: 92

Exhibit I
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 42 of 70 PagelD #: 93

1/4/2021 Yahoo Mail - Re: [EXTERNAL]: Altamirs Suit Case

Re: [EXTERNAL] : Altamir's Suit Case

From: Carline Vilbon (vilbonc@yahoo.com)
To: tia saeeung@dcyf.ri.gov
Date: Thursday, October 29, 2020, 10:08 AM PDT

Excuse me Tia,

| am just receiving this message. |! will call the unit to find out if my signature is still
required.

Thanks,
Carline

On Thursday, October 29, 2020, 05:40:13 AM PDT, SaeEung, Tia (DCYF) <tia.saeeung@dcyi.n.gov> wrote:

’ Hi Carline thank you for this information, Alex will be connected to all of his providers while at Rumford
' House.

Can you meet at Hasbro at 12PM Today for Alex’s discharge?? There will be paperwork to sign and if you
' refuse to sign the paperwork, it can be faxed to the Department for signing to allow Alex to change
placemenis.

From: Carline Vilbon <vilbonc@yahoo.com>

. Sent: Wednesday, October 28, 2020 5:02 PM

_ To: SaeEung, Tia (DCYF) <Tia.SaeEung@dcyf.ri.gov>
Subject: Re: [EXTERNAL] : Altamir's Suit Case

, Yes, and | also wanted inform you of Altamir's healthcare providers, so that

_ You could make follow up appointments with them.
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 43 of 70 PagelD #: 94

1/4/2021

Yahoo Mail - Re: [EXTERNAL] : Altamir’'s Suit Case

As Altamir is expected to be discharged to morrow, and the following list of nis
- health care providers must be maintained for continuity of care.

e

1. Dr. Cameron Lang at Blackstone Valley Community Health Center
(Primary care) in Pawtucket, Rl

2. John Ricetelli (Therapist) in North Providence

3. Geran Keough NP at Quality Behavioral Health, in Warwick, Ri

4. Performance Physical Theraphy, in Pawtucket, RI}

5. Dr. Arnold Sinsevere at Boston Children's Hospital (Epileptologist)

6. Boston Children's Hospital Developmental Medicine

please let the doctors know, so they maintain continuity of care..
Thanks,

Carline Vilbon

Delete
Move to

Forward
Rep
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 44 of 70 PagelD #: 95

4/4/2021 Yahoo Mail - Re: [EXTERNAL] : Altamir's Suit Case

_ Monday, October 26, 2020, 06:48:20 AM PDT, SaeEung, Tia (DCYF)
- <tla.saeeung@dcyi.ri.gov> wrote: -

On Wednesday, October 28, 2020, 12:08:03 PM PDT, SaeEung, Tia (DCYF) <tia. saceung@dcyiti.gay>
wrote:

Yes you can bring an empty suitcase for Alex so he can pack his belongings in.

Tia

. From: Carline Vilbon <vilbonc@yahoo.com>
Sent: Wednesday, October 28, 2020 2:55 PM

 

Subject: [EXTERNAL] : Aliamir’s Suit Case
: Hello Tia;

_ | would like to Bring Altamir his suit case. | would like to know if you have contacted the unit about it, if not
’ | will call them to arrange to drop it off.

' Thanks,

Carline

3/3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 45 of 70 PagelD #: 96

Exhibit J
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 46 of 70 PagelD #: 97

12/21/2020 Yahoo Mail - Re: ALTAMIR VILBON ‘s MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT AND

Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT
AND

From: Daigle, Diane (ddaigle@courts.ri.gov)

To: — vilbonc@yahoo.com

Cc: bparker@couris.ri.gov

Date: Thursday, November 19, 2020, 02:52 PM PST

Good Evening Ms. Vilbon,

Thank you for updating me on Altamir. | am happy to hear that Altamir has been released from the hospital. |
have copied Ms. Parker on this since she is the assigned social worker assigned to assist me in Altamir’s case.
| ask that you copy her on all further correspondence. We work as a team on all case we are assigned to.
Bethany did inform me of the strong bond that you and Altamir have. It is important that you stay strong for him
as the case proceeds.

Sincerely,

Diane Daigle

On Nov 19, 2020, at 4:54 PM, Carline Vilbon <vilbonc@vyahoa.com> wrote:

Good afternoon attorney Daigle,

. [just wanted to add that the Rumford House has been avoiding me. They are refusing to answer my call.
This started since my son was discharged from Hasbr6.

Thanks,
Carline Vilbon

On Thursday, November 719, 2020, 01:24:43 PM PST, Carline Vilbon <vilbonc@yahao.com> wrote:

 

*

Good attorney Daigle

This Carline Vilbon, mother of Altamir A. Vilbon.
| wanted you to be aware that Altamir has missed a couple of medical appointments that are very essential

for his wellbeing.

On November 10, | made the following appointments, and texted Lynn the charge Nurse at the Rumford as
agreed:

4/3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 47 of 70 PagelD #: 98

12/21/2020 Yahoo Mail - Re: ALTAMIR VILBON ‘s MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT ANG

Also, Alex has the following appointments scheduled:

John Richetelli therapist at Morin Therapy, on Tuesday 11/17 , 1PM
1803 Smith Street
North Providence, RI

Performance Physical Therapy

- with Makayla on Thursday 11/19, at 1 PM
21 Division Street
Pawtucket RI

And on November 12, | also notified Lynn of the following scheduled ppointment for Alex,
with his his psychiatric medication prescriber
_ Jean Keough NP
on Tuesday 11/24 5PM
At Quality Behavioral Health
75 Lambert Lind Hwy
Warwick, RL 02886

But today, Altamir did not attend his physical Therapy appointment and Lynn told me one hour before the
appointment that Alex could not go because of short staffing. Eventhough she was aware, and the she told
me that she was going to cancel the appointment but she did not, because | received a call from the facility
asking g why my son was late.
- [am now stuck with a no show, and late cancellation fee of $75.00.
Also, my son school placement has not been arranged with the Pawtucket School Department.
| have emailed them, fo make the arrangements, but! am still waiting for a reply.
fam concerned that my son's continuity of care is not being followed.
Additionally, my son has numerous medical diagnoses, and relies on his heaithcare provider for the
treatment.

1am concemed that if not corrected, my son's health will deteriorate, and could affect him both physically
and psychologically.

And based on these concerns, my son's needs are also being neglected and are reportable to the DCYF as

well.

Also, it has been nearly one month since Tia the DCYF social worker held a meeting with the Pawtucket
School Committee for my son's school placement, and he still not enrolled in the home schooling.

* .

Also, prior to my son's discharge from Hasbro on 10/29/20, | emailed Tia the list of my son's healthcare
providers, which consists of the following:

1. Dr. Cameron Lang at Blackstone Valley Community Health Center (Primary care) in Pawtucket, RI
2. John Ricetelli (Therapist) in North Providence

3. Geran Keough NP at Quality Behavioral Health, in Warwick, RI

4. Performance Physical Theraphy, in Pawtucket, R}
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 48 of 70 PagelD #: 99

42/21/2020 Yahoo Mail - Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT AND

5, Dr. Arnold Sinsevere at Boston Children’s Hospital (Epileptologist)

6. Boston Children's Hospital Developmental Medicine.
* But Tia did not make any appointments with them.

* Additionally, my son had a panicky attack last Friday, and was sent to Hasbro Children's hospital. His
panic attack was because | was leaving the group home, and he did not want me to leave. He suffers from
separation from me and our home. Hasbro kept my son for observations for five days, which is way above
the norm 24 to 48 hours, and my son did not exhibit any behavioral concerns at that time. He was put ina
confined space, with no room to walk, was anxious and uncomfortable and lost his balance and fell in his
bathroom because of misuse of his muscles and inadequate ambulation. He was deprived from ambulation

_ which is required for his left foot paralysis. Additionally, to holding g my son longer than it was necessary.
Hasbro placed several calls to the director of Rumford House, to determine whether my son should return to
the group home, even though he had no issues during his hospitalization. Eventhough the staff at the

- Rumford House, {including the social worker Adam,-) had no objections about taking g my son back, Hasbro

’ influenced the Rumford House's decision to not accept my son, if he were to have another panic attack. And
he was not violeni.

* Therefore, since Hasbro is affiliated with the Rumford House, | am concerned that Rumford House will
be extremely influenced by Hasbro (who's interest has always been to place my son ina mental institution
without proper interventions) in reaching medical diagnoses and healthcare recommendations for son.

* Moreover, my reported that he was mistreated and traumatized during his previous hospitalization at
Hasbro

* Therefore | am requesting for you fo file an expedited motion for a placement for my son into a facility that

: jg not affiliated with Hasbro, and who is no judgemental in caring for his healthcare needs. Additionally, |
wouldn't want my son to end up I. A mental institution.

. Sincerely,

Carline Vilbon, mother of Altamir A. Vilbon
(401) 654-3470

3/3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 49 of 70 PagelD #: 100

Exhibit Kk
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 50 of 70 PagelD #: 101

5:02 Ha di ao + Brac

Lynn from Rumf... & Q

414016230321

.
e

Thursday, November 72, 2020

 

2:10 Ph

    

GE) Ok, thank you for
schefulimg that. |
appreciate all your help. 90

Saturday, November 14, 2020

Lo et
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 51 of 70 PagelD #: 102

12:28 Hd + a

Lynn from Rumf..  « Q
+14016230321

Saturday, November 14, 2020

 
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21

12:29 Bid -

Lynn from Rum...
162

     
   

B:1BAN

“& Thank you. We left
you messages last
night that Alex had to

go to Hasbro ED for
evaluation. | believe
Adam left his nurmber
along with the doctor
caring for Alex so you
can get further info. |
just want to make sure
you were aware. Ty

 

2:43 PM

Wednesday, November 18, 2020

 

Page 52 of 70 PagelD #: 103
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 53 of 70 PagelD #: 104

Exhibit L
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 54 of 70 PagelD #: 105

Incident Report

 

 

 

 

 

 

Print Date/Time: 01/28/2021 14:46 Providence Police Department
Login ID: apandozzi ORI Number: RIO040800
incident: 2020-00077524
Incident Date/Time: 9/17/2020 2:58:30 PM Incident Type: Check Well Being
Location: EDDY ST/ DUDLEY ST Venue: PROVIDENCE
Providence RI 02903
Phone Number: Po Source: Telephone
Report Required: Yes Priority: Routine
Prior Hazards: No Status: In Progress
LE Case Number: Nature of Call:
Unit/Personnel
Unit Personnel
221 16082-Hourahan
222 16076-Francis
Person(s)
No. Role Name Address Phone Race Sex DOB
Caller CARLEEN <UNKNOWN>
Vehicle(s)
Role Type Year Make Model Color License State
Disposition(s)
Disposition Count
2NR
Property
Date Code Type Make Model Description Tag No. Item No.

Page: 1 of 2
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 55 of 70 PagelD #: 106
CAD Narrative

09/17/2020 14:59:38 jcbutler Narrative: SAYS HER SON IS REPORTING J 13 YRS OLD IS ON THE 6TH
FLOOR AND IS STATING THAT HER SON IS BEING ABUSED BY STAFF

09/17/2020 14:59:46 jebutler Narrative: SAYS THEY ARE HITTING HIM AND BEING AGGRESSIVE WITH HIM
09/17/2020 15:00:25 jcbutler Narrative: @HASBRO CHILDREN HOSPITAL

09/17/2020 15:00:28 jebutler Narrative: WILL MEET IN MAIN LOBBY

09/17/2020 15:08:15 phourahan Narrative: Dispatch received by unit 221

09/17/2020 15:11:50 afrancis Narrative: Dispatch received by unit 222

09/17/2020 15:19:56 diannucci Narrative: MEET AT FRONT DOOR

09/17/2020 15:35:31 diannucci Narrative: NO REPORT NEEDED 10-8

Page: 2 of 2
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 56 of 70 PagelD #: 107

Exhibit M
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 57 of 70 PagelD #: 108

1/4/2021 Yahoo Mail - URGENT REQUEST TO TRANSFER ALTAMIR VILBON TO ANOTHER HOSPITAL. -

URGENT REQUEST TO TRANSFER ALTAMIR VILBON TO ANOTHER HOSPITAL

From: Carline Vilbon (vilbonc@yahoo.com)
To: — ddaigle@courts.ri.gov
Date: Wednesday, October 7, 2020, 10:01 AM PDT

RE FAMILY COURT CASE No, PJ20-002943

PLEASE SEE ATTACHED COMPLAINTS AND HASBRO HOSPITAL TRANSFER REQUEST

Good afternoon attorney

My son's health was further compromised in a life-threatening way over the weekend by
the staff at Hasbro. Therefore, | would like to request immediate intervention from the
Court.

Please see the attached three pages letters from Judith Vargas and me. These letters

were notarized and true copies given to attorney Pires tol bring them to me in court.. My
brother has also written a letter of concern about my son.

in addition to the attached email complaints to Hasbro administration.

Also, my son reported that their is a staff who keeps triggering him and causing him to get
restrained on purpose.

He needs to be removed from Harbro into another hospital. His life is in danger

Thanks,

Carline Vilbon

| Hospital Trasfer Request and other Complaints.pdf
ZS) 1.8MB

Ww
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 58 of 70 PagelD #: 109

STATE OF RHODE ISLAND
FAMILY COURT
PROVIDENCE, SC

Department of Children

Youth and Families
VS. CASE No. PJ20-002943

CARLINE VILBON
Dated October 16, 2020

AFFIDAVIT OF CARLINE VILBON MODIFY PLACEMENT VISITATION
AND PHONE CALL COMMUNICATIONS

I, Carline Vilbon, the Defendant hereby request this Honorable Court to grant
modification of child placement for the upcoming hearing , because it is necessary to prevent
further harm to my son Altamir A. Vilbon, which he suffered at the current facility, Hasbro
Children’s Hospital.

And as ground I state the following:

© Hasbro Children’s Hospital’s staff has placed my son in unhealthy and harmful
conditions, that has harmed him, and such harmful actions caused a rapid and worsening
of his medical and psychiatric conditions.

e During my supervised visit with DCYF on 10/14/20, with my brother Sony Vilbon on
speaker phone, Altamir was again on seclusion, initially, he did not remember why he
was placed on seclusion, His exhibited drastic memory impairment resulting from trauma
and undue stress that was inflicted on him. And then, as time went by, he told me that he
had a conflict with another patient, which led to his seclusion. He stated “ IT tried to hurt

Page 1 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 59 of 70 PagelD #: 110

had a conflict with another patient, which led to his seclusion. He stated “ I tried to hurt
myself in the past, because my life is meaningless without you mommy”. This incident
was not reported to me. Altamir had also been Isolated from me and his family who he
relied on for emotional support for over one month (see attached letters from Judith
Vargas, Sony Vilbon and me as well as email complaint to Hasbro PGS dated Exhbit 1, 2
HY & 3) He also stated “ mommy, I feel like I am being tortured”.
My observation of his room: It was cold and empty, with no television, he only had a bed
and mattress and pillow without sheets or cover, and a heavy plastic blanket, such as
those used during X-ray exams to cover himself. Again, he was placed in this harsh brutal
condition, which he described for over two days, because of a conflict with another
patient. He received no appropriate psychiatric and medical interventions, care or
attention for the said incidents, but was isolated, secluded from family and social
interactions, and frequently restrained physically and chemically which he also reported.
e Hasbro’s Psychiatrist Dr. Patel refused to transfer my son to another hospital after four
attempts, when I requested, out of concern for my son’s health and safety because he
suffers from unstable Epilepsy, paralysis of the left foot, and tachycardia, which leaves
him even more vulnerable to irreparable harm.
From September 17, 2020, the day of the initial incident which caused me to refuse to
sign Altamir’s discharge summary, I have been requesting for my son’s transfer, which
was unjustly denied in violation of Hasbro’s Policy and procedures for transferring
patients, and in violation of my son’s rights as a patient, and my legal rights as a parent
who has the authority to make legal decisions for him (See Hasbro PGS email complaint

Exhibit4).

Page 2 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 60 of 70 PagelD #: 111

* Dr. Patel’s intentionally planned to place Altamir in a long-term facility, without going
through steps required for appropriate treatment which has caused me a great deal of
distress (See Hasbro PGS Email complaint and Hasbro Letter of apology, in Exhibit 5 &
6).

¢ DCYF’s Social worker Tia is unwilling to intervene when I attempted to transfer my son
to Boston Children’s Hospital (BCH) despite the concerns that I raised, and BCH
communication with her, and my son’s need to be seen by his Epileptologist specialist at
BCH (which specialty Rhode Island does not have), and that I requested an updated

assessment of my son’s condition, to facilitate an out of state transfer for my son.

Therefire, J, the Carline Vilbon, respectfully request this Court order to expedite modification of
placement order for my son Altamir A. Vilbon to be transferred to Boston Children’s Hospital,
or another hospital, capable of treating my son’s medical and psychiatric needs, to so he may
receive prompt and effective medical care, and prevent further harm to him.

Respectfully submitted
. Ay)

by. raat! Lon
arliné Vilbon

74 Prince Street
Pawtucket, RI 02860
401-654-3470
Dated: October 16, 2020

     

Page 3 of 3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 61 of 70 PagelD #: 112

ExhiSL7

Carline Vilbon
74 Prince Street
Pawtucket, RI. 02860
Ph: (401) 654-3470
To: Family Court October 6, 2020
1 Dorrance Plaza .
Providence, RI. 02903
RE: Case No. PJ20-002943

Dear Justice:

Tam writing to inform you of some critical matters that require your prompt intervention, and to
request a Court order to correct the following probems:

1. Court order to transfer Altamir A. Vilbon to another psychiatric hospital for
further evaluation and psychiatric and medical care

Since September 18, the date of filing of this complaint, I have spoken to my son Altamir twice
due to phone restrictions placed bay Hasbro Children’s Hospital. Altamir remains isolated from
his family, who he relies on for emotional support, and has expressed suffering from not being
able to communicate with us. For the past three weeks, my brother Sony Vilbon has not spoken
to Altamir, despite his efforts in calling him daily, his messages were not delivered to Altamir.
And when I called to inquire about this problem, a nurse name Laura told me that Altamir
refused to speak to us. I complained to Hasbro’s administration about this problem, but it has not
been corrected (see Hasbro email complaint dated 09/24/20).

{n addition to isolating Altamir, several nurses from Hasbro called me over the weekend, to
inform me that Altamir was placed on restrain and seclusion, without television and social
interaction, since Friday October 2, 2020. On 10/03/20, I went to Hasbro, after receiving the
notice that my son was restrained to speak to the Nursing supervisors at Hasbro, and following
my complaint, Amy the nursing supervisor called me about two hours later to inform me that
Altamir had still been on a restraint. It appeared my son was placed on restraint at Hasbro for
many hours on that day. On 09/29, during a Zoom call with Altamir, he reported that he was
restrained at least seven times. But only one incident was reported to me at that time.

On 10/04/20, I called the Rhode Island Department of Health emergency hotline, to this life-
threatening violation, and then after I called many facilities to have my son transferred, and a
staff at Butler hospital told me that there would be a bed available on 10/05/20. An then I called
Hasbro and in formed Amy, Altamir’s nurse, that I am requesting a transfer for my son to Butler
Hospital today, and went on to file another complaint to Hasbro’s administration via email (see
emails 10/04 to Hasbro PGS), At approximately 9 am, my son’s nurse Sharon confirmed that
Amy sent a secured message to doctor Patel, the psychiatrist, but she was unwilling and
uncooperative with my request, since she is the one ordered the restraint. And then this moming,

Page 1 of 2
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 62 of 70 PagelD #: 113

10/06/20, I called Hasbro 6, and spoke to my son’s nurse, Georgia, and she told me that my son
was still in isolation, had been sleeping since 7pm the night before, had not gone to the
bathroom. And refused to take his vital signs when I asked her, out of concern for his health
status because in addition to mental health, he also has other medical diagnoses, and has
tachycardia, fast heart rate, which makes him at risk for complications. My son has been
restrained and on seclusion for six consecutive days, and this is improper care, and could be fatal
to him if not corrected immediately. Therefore I request an urgent Court order to have my son
Altamir Vilbon transported to another hospital for psychiatric and medical inpatient care.

2. Order for recorded phone and Zoom calls with DCYF staff or social worker,
3. Order for routinely and scheduled recorded phone and Zoom calls and visitation
schedule

« Because DCYF did not attempt to reunify me and my son. On 09/29, Tia the DCYF
social worker misconstrued everything from my conversation with my son and wants me
to say what they want me to say to my son, and not express my own feelings, even
though I was not inappropriate. She Misstated that my son was not able to be regulated
after my first Zoom call with her. But this did not occur, and I asked Tia if I could record
the Zoom call, but she refused. This could have been avoided if she permitted me to
record the Zoom call, so if needed, I would have proof for the Court to determine what
was said.

Because of this, I cancelled my last scheduled Zoom call, which was scheduled on
10/20/20 12:30, until I request an appropriate order from the Court, to prevent any further
communication problems.

I thank you for your attention.

Sincerely ,
° , i)
Arodlioe VD ov

Carline Vilbon, mother of Altamir A. Vilbon.

Dated: October(, 2020

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certify Wht the (preceding) (ilowing)(eitachad}
Jeument is a true. cxacl, completa, und Uniherst cony

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riedromesy COL WAL
(oificlal slandure and Seal af Nstaryy

ANDREA SOARES DONO
Notary Public, State of Rhode Island
ID# 763633 Page 1 of 2
My Commission Expires Jan 29, 2023
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 63 of 70 PagelD #: 114

Exhibit 3
Sony Vilbon
170 Winthrop Avenue Apt 2
Revere, Massachusetts 02151
sonyvilbon@yahoo.com
Telephone (774) 240-1273 .
Tuesday October 6, 2020

To whom it may concern:

I, Sony Vilbon, the uncle of Alex Altamir Vilbon who has been hospitalized at the
Hasbro Children’s Hospital, have tried to contact him for more than two wecks, but the
representatives who usually answer the telephone have repeatedly told me that they would have
Alex call me. Alex has never responded to my calls during that time due the lack of
transmissions of those individuals.

Thank you for your understanding.
Sincerely,

Sony Vilbon
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 64 of 70 PagelD #: 115

Exhibit N
ips 1:21-cv-00267-MSM-LDA CEU NEY InFORMAIGN PLR OSHC RANGER PagelD #: 116

Fw: ATTORNEY INFORMATION FOR HOSPITAL TRANSFER

From: Carline Vilbon (viloonc@yahoo.com)
To: graceaime7@gmail.com

Date: Monday, October 12, 2020, 11:33 AM PDT

Sent from Yahoo Mail for iPhone

Begin forwarded message:

On Tuesday, October 6, 2020, 1:50 PM, PGS PGS <PGS@Lifespan.org> wrote:

Hi Carline,
Please know your message has been sent to appropriate personnel.
Thank-you

Patient and Guest Services, Rhode Island Hospital and Hasbro Children’s Hospital, 593 Eddy
Street Providence, RI 02903 401.444.5817

From: Carline Vilbon <vilbonc@yahoo.com>

Sent: Monday, October 5, 2020 2:37 PM

To: PGS PGS <PGS@Lifespan.org>

Subject: Re: ATTORNEY INFORMATION FOR HOSPITAL TRANSFER

WARNING: This email originated outside of Lifespan and our authorized business partners. USE
CAUTION when clicking on links or attachments.

 

Attention Patient Guests Services:

| have notified Dr. Patel of my son’s need to transfer through many staff nurses, but she is not
cooperating.

Please provide her with my attorney's contact information for any further questions.

Below is the contact information for my attorney:

attorney Susan Pires

1/2
 

7/1/2021

Case 1:21-cv-00267-MSM-LDA
Ya

A net GY AS BRAY INFORM AGO@R hosPage}BANSFER) PagelD #: 117

427 Dorrance Street

3rd Fl

Providence, RI. 02903

Ph: (401) 273-4900

Sincerely,

Carline Vilbon, mother of Altamir A. Vilbon.
Sent from Yahoo Mail for iPhone

On Sunday, October 4, 2020, 6:15 PM, Carline Vilbon <vilbonc@yahoo.com> wrote:

 

Attention Patient Guests Services:

| am writing to inform you that at 3:50 pm today, | requested a hospital transfer for my son
to Buttler Hospital. | informed Amy, Altamir’s nurse, today that a bed is available for my
son’s transfer for tomorrow, and asked that She notifies the doctor as soon as possible, to
arrange the transfer.

Additionally, | gave her the contact information (401) 455-6224, at Butler to give to the
doctor for Hasbro 6 BHU.

| would appreciate it if you would followed up to ensure that the my request gets processed.
Sincerely,

Carline VILBON, mother of Altamir A. Vilbon.
(401) 654-3470

Sent from Yahoo Mail for iPhone

This transmission is intended only for the addressee(s) listed above and may contain information that is

confidential. If you are not the addressee, any use, disclosure, copying or communication of the contents
of this message is prohibited. Please contact me if this message was transmitted in error.

2/2
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 67 of 70 PagelD #: 118

Exhibit O
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 68 of 70 PagelD #: 119
12/21/2020 Yahoo Mail - Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT AND

Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT
AND

eran: Daigle, Diane (ddaigle@courts.ri.gov)

Ta vilbonc@yahoo.com

Ce: bparker@courts.ri.gov

Date: Thursday, November 19, 2020, 02:52 PM PST

Goad Evening Ms. Vilbon,

Thank you for updating me on Altamir. | am happy to hear that Altamir has been released from the hospital. i
have copied Ms. Parker on this since she is the assigned social worker assigned to assist me in Altamir’s case.
| ask that you copy her on all further correspondence. We work as a team on all case we are assigned to.
Bethany did inform me of the strong bond that you and Altamir have. It is important that you stay strong for him
as the case proceeds.

Sincerely,

Diane Daigle

Good aftemoon attorney Daigle,

{ just wanted to add that the Rumford House has been avoiding me. They are refusing to answer my call.
This started since my son was discharged from Hasbré.

Thanks,
Carline Vilbon

On Thursday, November 19, 2020, 01:24:43 PM PST, Carline Vilbon <vilbonc@vahoc.com> wrote:

Goad attorney Daigie

This Carline Vilbon, mother of Altamir A. Vilbon.
| wanted you to be aware that Altamir has missed a couple of medical appointments that are very essential

for his wellbeing.

On November 10, | made the following appointments, and texted Lynn the charge Nurse at the Rumford as
agreed:

1/3
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 69 of 70 PagelD #: 120
12/21/2020 Yahoo Mail - Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT AND

Also, Alex has the following appointments scheduled:

John Richetelli therapist at Morin Therapy, on Tuesday 11/17, 1PM
{803 Smith Street
North Providence, Ri

Performance Physical Therapy

with Makayla on Thursday 11/19, at 1 PM
21 Division Street

Pawiucket Ri

And on November 12, | also notified Lynn of the following scheduled ppointment for Alex,
with his his psychiatric medication prescriber

Jean Keough NP

on Tuesday 11/24 5 PM

At Quality Behavioral Health

7S Lambert Lind Hwy

Warwick, RI. 02886

But today, Altamir did not attend his physical Therapy appointment and Lynn told me one hour before the
appointment that Alex could not go because of short staffing. Eventhough she was aware, and the she told
me ihat she was going to cancel the appointment but she did not, because | received a call from the facility
asking g why my son was late.

iam now stuck with a no show, and late cancellation fee of $75.00.

Also, my son school placement has not been afranged with the Pawtucket School Department.

| have emailed them, to make the arrangements, but! am still waiting for a reply.

| am concerned that my son's continuity of care is not being followed,

Additionally, my son has numerous medical diagnoses, and relies on his healthcare provider for the
treatment.

| am concerned that if not corrected, my son's health will deteriorate, and could affect him both physically
and psychologically.

And based on these concerns, my son's needs are also being neglected and are reportable to the DCYF as

well.

Aiso, it has been nearly one month since Tia the DCYF social worker held a meeting with the Pawtuckei
School Committee for my son's school placement, and he still not enrolled in the home schooling.

*”

Also, prior to my son's discharge from Hasbro on 10/29/20, | emailed Tia the list of my son's healthcare
providers, which consists of the following:

1. Or. Cameron Lang at Blackstone Valley Community Health Center (Primary care) in Pawtucket, Ri
2. John Ricetelli_ (Therapist) in North Providence

3. Geran Keough NP at Quality Behavioral Health, in Warwick, R}

4. Performance Physical Theraphy, in Pawtucket, RI
Case 1:21-cv-00267-MSM-LDA Document 4-1 Filed 07/06/21 Page 70 of 70 PagelD #: 121
42/21/2020 Yahoo Mail - Re: ALTAMIR VILBON 's MISSED MEDICAL APPOINTMENTS and SCHOOL PLACEMENT AND

5. Dr. Amold Sinsevere at Boston Children’s Hospital (Epileptologist)

6. Boston Children's Hospital Developmental Medicine.
* But Tia did not make any appointments with them.

“ Additionally, my son had a panicky attack last Friday, and was sent to Hasbro Children’s hospital. His
panic attack was because | was leaving the group home, and he did not want me to leave. He suffers from
Separation from me and our home. Hasbro kept my son for observations for five days, which is way above
the norm 24 to 48 hours, and my son did not exhibit any behavioral concerns at that time. He was put in a
confined space, with no room to walk, was anxious and uncomfortable and lost his balance and fell in his
bathroom because of misuse of his muscles and inadequate ambulation. He was deprived from ambulation
which is required for his left foot paralysis. Additionally, to holding g my son longer than it was necessary.
Hasbro placed several calls to the director of Rumford House, to determine whether my son should return to
the group home, even though he had no issues during his hospitalization. Eventhough the staff at the
Rumford House, (including the social worker Adam, ) had no objections about taking g my son back, Hasbro
influenced the Rumford House's decision to not accept my son, if he were to have another panic attack. And
he was not violent.

* Therefore, since Hasbro is affiliated with the Rumford House, | am concerned that Rumford House will
be extremely influenced by Hasbro (who's interest has always been to place my son in a mental institution
without proper interventions) in reaching medical diagnoses and healthcare recommendations for son.

“ Moreover, my reported that he was mistreated and traumatized during his previous hospitalization at
Hasbro

“ Therefore | am requesting for you to file an expedited motion for a placement for my son into a facility thai
is not affiliated with Hasbro, and who is no judgemental in caring for his healthcare needs. Additionally, |
wouldn't want my son to end up |. A mental institution.

Sincerely,

Carline Vilbon, mother of Altamir A. Vilbon
(401) 654-3470

3/3
